Case 8:09-cr-00430-JSM-TBM Document 105 Filed 06/04/10 Page 1 of 2 PageID 249




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



   UNITED STATES OF AMERICA,

   v.                                               Case No. 8:09-cr-430-T-30TBM

   JIMMY LEE FROST




                          FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court upon the filing of the United States’

   Motion for Forfeiture Money Judgment (Doc. 103) in the amount of $6,000.00,

   which, upon entry, shall become a final order of forfeiture as to defendant Jimmy

   Lee Frost.

          Being fully advised in the premises, the Court hereby finds that the United

   States has established that the defendant obtained at least $6,000.00 in DEA

   registered funds as a result of the drug conspiracy alleged in Count One of the

   Indictment, in violation of 21 U.S.C. § 846. Accordingly, it is hereby

          ORDERED AND ADJUDGED that for good cause shown, the United States’

   motion (Doc. 103) is GRANTED.

          It is FURTHER ORDERED that, pursuant to the provisions of 21 U.S.C. § 853

   and Federal Rule of Criminal Procedure 32.2(b)(2), defendant Jimmy Lee Frost is

   personally liable for a forfeiture money judgment in the amount of $6,000.00, which

   represents the amount of DEA-registered funds he received as a result of the
Case 8:09-cr-00430-JSM-TBM Document 105 Filed 06/04/10 Page 2 of 2 PageID 250




   conspiracy as charged in the Indictment.

            The Court retains jurisdiction to enter any further order necessary for the

   forfeiture and disposition of any property belonging to the defendant, which the

   United States is entitled to seek as substitute assets, up to the amount of the

   $6,000.00 forfeiture money judgment, and to entertain any third party claim that may

   be asserted in these proceedings.

            DONE and ORDERED in Tampa, Florida on June 4, 2010.




   Copies to:
   Counsel/Parties of Record
   F:\Docs\2009\09-cr-430.fj 103.wpd




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